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United States Bankruptcy Court
Eastern District of Kentucky
Donald Anthony Fitzpatrick
Inreé Ashley Louise Fitzpatrick Case No.
Debtor(s) Chapter 11

VERIFICATION OF MAILING LIST MATRIX

I,_ Donald Anthony Fitzpatrick and Ashley Louise Fitzpatrick. the petitioner(s) in the above-styled bankruptcy action,
declare under penalty of perjury that the attached mailing list matrix of creditors and other parties in interest consisting
of 5 page(s) is true and correct and complete, to the best of my (our) knowledge.

se

ne
Date: April 29, 2024 fs! Donald Anthony Fitzpatrick

Sonia Anthony Fitzpatrick

Rubee Sabi 7
Date: April 29, 2024 !s/ Ashley i e Mitzpatrick
Ashley Louise Fitzpatrick
Signature of Debtor

I, John T. Hamilton . counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached
Master Address List consisting of _5 page(s) has been verified by comparison to Schedules D through H to be complete, to the best
of my knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide notice to

all creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as any
amendments may be made.

Date: April 29, 2024 isi John T. Hamilton

Signature of Attorney

John T. Hamilton

Hamilton Law Offices, PLLC
P.O. Box 240

Lexington, KY 40588-0240
859-523-7010

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Ally Financial
P.O. Box 8133
Cockeysville MD 21030

Ally Financial
500 Woodward Ave.
Detroit MI 48226

America Pool & Spa
265 North Keeneland Drive
Richmond KY 40475

American Express
P.O. Box 981540
El Paso TX 79998

Bank of America
P.O. Box 982234
El Paso TX 79998

Bank of America
P.O. Box 31785
Tampa FL 33631-3785

Barr Credit

c/o Lorene Edwards

3444 N. Country Club Road
Tucson AZ 85716

Capital One
P.O. Box 30285
Salt Lake City UT 84130

Central Bank
P.O. Box 481
Lexington KY 40575

Central Portfolio Control
10249 Yellow Circle Dr.
Suite 200

Hopkins MN 55343
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Central Portfolio Control
10249 Yellow Circle Dr.
Suite 200

Minnetonka MN 55343

Chase Card Services
P.O. 15298
Wilmington DE 19850

Collection Bureau of Ft Walton Beach
P.O. Box 4127
Fort Walton Beach FL 32549

Community Trust Bank
346 North Mayo Trail
Pikeville KY 41501

Credit Bureau Systems, Inc.
2541 Sir Barton Way
Lexington KY 40509

Credit Bureau Systems, Inc.
P.O. Box 11788
Lexington KY 40578-1788

Credit One Bank
6801 Cimarron Road
Las Vegas NV 89113

Dept. of Education
Navient

P.O. Box 9635

Wilkes Barre PA 18773

Discover Bank
P.O. Box 3025
New Albany OH 43054

Enerbank USA
650 S. Main Street, Ste. 1000
Salt Lake City UT 84101

Fast Flow Plumbing, LLC
1152 Red Lick Road
Berea KY 40403
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First Citizen Bank
155 Commerce Way
Portsmouth NH 03801

First Citizen Bank
239 Fayetteville
Raleigh NC 27601

First Citizen Bank
P.O. Box 856502
Minneapolis MN 55485

Flash Funding LLC
Erica R. Gilerman, esq.
10622 Hirsch Road
Houston TX 77016

GLA Collection Company
P.O. Box 588
Greensburg IN 47240

Home Depot
P.O. Box 2317
Jacksonville FL 32207

Huntington National Bank
P.O. Box 340996
Columbus OH 43234

Internal Revenue Service
P.O. Box 804527
Cincinnati OH 45280-4527

Joseph Baker

c/o Robert L. Roark, esq.

401 Lewis Hargett Circle, Ste. 210
Lexington KY 40503

Kentucky Department of Revenue
Frankfort KY 40619

Kubota Credit Corp., USA
1000 Kubota Drive
Grapevine TX 76051
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M & T Bank
P.O. Box 619063
Dallas TX 75261

Master Supply
P.O. Box 34337
Louisville KY 40232

Members Heritage Credit Union
440 Park Place
Lexington KY 40505

Mercedes Benz Financial
P.O. Box 685
Roanoke TX 76262

Portfolio Recovery Assoc.
P.O. Box 12914
Norfolk VA 23541

Rocket Capital NY
Berkovitch & Bouskila, esq
1545 U.S. 202, Ste. 101
Pomona NY 10970

Sams Club
P.O. Box 965060
Orlando FL 32896

Select Portfolio Services
P.O. Box 65250
Salt Lake City UT 84165

Synchrony Bank
attn: Bankruptcy Dept.
P.O. Box 965065
Orlando FL 32896-5065

The Bureaus Inc.
650 Dundee Road, Ste 370
Northbrook IL 60062

Toyota Industries Commercial Finance
P.O. Box 660926
Dallas TX 75266
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U.S. Small Business Administration
4300 Amon Carter Blvd.
Fort Worth TX 76155

Unite Mileage Plus
P.O. Box 15123
Wilmington DE 19850

Velocity Capital Group Settlement
Attn: Gene Rosen's Law Firm

200 Garden City Plaza, Ste. 405
Garden City NY 11530

Wells Fargo Bank
1 Home Campus MAC X2303-O1A 3rd Floor
Des Moines IA 50328

Western Equipment Finance
P.O. Box 640
Devils Lake ND 58301

Wiseway, LLC

c/o Robert A. McMahon, Esq.
2245 Gilbert Ave., Ste. 101
Cincinnati OH 45206

WLEX Scripps Media, Inc.
P.O. Box 947746
Atlanta GA 30394
